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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


    5+o,['
             x fl.^, TtL, "l ^1,                        AFFIDAVIT OF       (l*,
                                                                           Sr!"¿dt^r
                                                        IN SUPPORT OF MOfiON TO
                                                        ADMIT COUNSEL PRO HAC WCE
  Ð -^ Ort f v*n(, ?r*r"'4r't"tJt*                                                   (rù
    v;l.d \þþ, ,l^0.

          P*' 9,L¡¿dr^./                   being duly sworn, hereby deposes and says as follows:



   l. I am an associate with the law firm of        üu,* -È'-"* Lu?
                                                     "l
  2. I submit this affidavit in support of my motion for admission to practice pro hac vice in the
          above captioned matter.

  3. As shown in the Certificate(s) of Good Standing annexed hereto Ialll-a member in good
         standing of the Bar of the State(s)   of    Nc-¡Y" f !r-

  4. There are no pending disciplinary proceedings against me in any State or Federal Court.

  5. I [circle one] have                  convicted of a felony. [If you circled "have," please
          describe facts




  6. I [circle one] have                   censured, suspended, disbaned or denied admission or
          readmission by             [If you circled "have," please describe facts and
          circumstances.




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Case 1:17-cv-05228-NGG-VMS Document 118-1 Filed 12/20/17 Page 2 of 2 PageID #: 6355




  7. rWherefore your affiant respectfully submits that s/he be permiued to appear as counsel and
  advocate pro hac vice inthis one case for                        Ah:c¿         4è



  Dated: /z/to /-r,
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                                                      Si        e of Movant
                                                      FirmName 4-o,            B,rt-sr- Lu?
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    NOTARIZED


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